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                       UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT

 ANTHONY BONTATIBUS,                     :
     Plaintiff                           : 3:03CV00948(JCH)
                                         :
 VS.                                     :
                                         :
 DUNCAN AYR                              :
 and TOWN OF BRANFORD,                   : JANUARY 3, 2005
      Defendant

              PLAINTIFF’S NUNC PRO TUNC REQUEST
  FOR A SECOND EXTENSION OF TIME WITHIN WHICH TO RESPOND TO
                  SUMMARY JUDGMENT MOTION


       The plaintiff, through counsel, respectfully requests that this court grant a

second extension of time to respond to the defendants’ motion for summary

judgment. In support hereof, the undersigned represents as follows:

       1.    I represent the plaintiff in this action.

       2.    The defendants have filed a motion for summary judgment and the

             response to that motion is due on November 22, 2004. The plaintiff

             obtained an extension of time to respond to that brief.

       3.    The underlying dispute was the subject of three felony-murder trials

             and one civil trial. All trials resulted in mistrials.

       4.    I have been unable to respond to the defendants’ motion within the

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         period required by law due to my decision to leave the firm Williams

         and Pattis, LLC, and form a firm of my own. Planning and executing

         the move, together with the time involved starting a new office has

         proven more time-consuming than I had expected it to be.

    5.   This is the second such request.

    6.   I have conferred with my adversary in this action, Attorney James

         Tallberg, and he consents to my request for an extension of time.

    7.   I am requesting until March 1, 2005 to complete the brief.



                                   THE PLAINTIFF
                                   ANTHONY BONTATIBUS



                                     BY__________________________________
                                        NORMAN A. PATTIS
                                        Williams and Pattis, LLC
                                        51 Elm Street, Suite 409
                                        New Haven, CT 06510
                                        Telephone: (203) 562-9931
                                        Fed Bar No. ct13120
                                        His Attorney




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                                 CERTIFICATION

      This is to certify that a copy of the foregoing was sent via first class mail,
postage prepaid, on January 3, 2005 to the following parties and counsel of record:


James N. Tallberg, Esq.
Updike, Kelly & Spellacy, PC
One State St., P.O. Box 231277
Hartford, CT 06123-1277




                                       NORMAN A. PATTIS




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